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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

 

v. ) Case: 1:21—mj-00671
Marcos Panayiotou Assigned To : Harvey, G. Michael

) Assign. Date : 11/30/2021

) Description: COMPLAINT W/ ARREST WARRANT
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Marcos Panayiotou ;
who is accused of an offense or violation based on the following document filed with the court:
1 Indictment C1 Superseding Indictment 01 Information C1 Superseding Information (& Complaint

O Probation Violation Petition C Supervised Release Violation Petition Violation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds

40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building

40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building
Digitally signed by G. Michael

G. Michael Harvey taney

Date: 11/30/2021 Date: 2021.11.30 11:19:39 -05'00'

 

Issuing officer's signature

City and state: | === ~~ Washington,D.C. G. Michael Harvey, U.S. MagistrateJudge

Printed name and title

 

Return

This warrant was received on (date) // / 3S oO] AOD , and the person was arrested on (date) EN, a [ a /

at (city and state) Wei ltr Town N }

 

 

Date: /o /3 /a / En. Ss
AAA rresting officer’s signature

— Jame A ieee , Speer AGENT

Printed name and title

 

 

 
